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Lawrence Kill (LK-2685)

Linda Gerstel (LG-7150)

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New York, New York 10020

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UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF NEW YORK J udge Berman
ROBERT DURST, 0 4
Plaintiff, Civil CV,..06 9 8 ]
- against -
COMPLAINT AND
RICHARD SIEGLER, JONATHAN DURST and JURY DEMAND __

DOUGLAS DURST, individually and as co-trustees
of the Robert Durst Trust u/a Dated May 1, 1962
and the Robert Durst Trust u/a Dated December

31, 1962, [S (E CEIVEN

Defendants.

 
   

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U.S.D.C. S.D. N.Y.
CASHIERS

 

 

 

 

Plaintiff, Robert Durst (“Robert Durst’), by and through his attorneys,
Anderson Kill & Olick, P.C., as and for his complaint against defendants Richard Siegler
(“Siegler”), Jonathan Durst (“Jonathan Durst”) and Douglas Durst (“Douglas Durst’)
(collectively, the “Trustees”), individually and as co-trustees of the Robert Durst Trust
u/a dated May 1, 1962 (the “May 1962 Trust”) and the Robert Durst Trust u/a dated
December 31, 1962 (the “December 1962 Trust”) (together, the “Trusts”), alleges as

follows:

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INTRODUCTION

1. This action involves an attempt by certain members of the Durst
family and beneficiaries of Durst family trusts, two of whom (namely, Jonathan Durst
and Douglas Durst) are trustees of trusts created for the benefit of Robert Durst, to
procure for themselves absolute control over the interests in certain entities and
property held by Robert Durst’s Trusts by wrongfully purporting to restrict Robert Durst's
right to appoint such interests upon his death to his wife, Debrah Lee Charatan (“Wife’).

2. Upon learning of Robert Durst’s marriage, in October 2001, the
Trustees executed a shareholders’ agreement and amended the operating agreements
governing certain corporations and limited liability companies in which the Trusts hold
various interests. The effect of these actions by the Trustees allegedly is to restrict,
condition or otherwise affect Robert Durst’s ability to exercise his testamentary limited
powers of appointment of the property of the two Trusts directly and free of trust to his
Wife. These restrictions directly contravene the express power granted to Robert Durst
by the controlling trust instruments, which clearly and unambiguously authorize Robert
Durst to appoint his trust interests and property to his “spouse” and “wife.”

3. By devising and signing the October 2001 shareholders’ agreement
and operating agreement amendments, the Trustees breached the fiduciary and
contractual obligations each owed to Robert Durst. The actions by the Trustees are
even more egregious because each acted with a blatant conflict of interest and for his
own personal enrichment. In the event Robert Durst attempts to appoint his interests in
the Trusts to his Wife, as authorized by the trust instruments, the October 2001 transfer
restrictions purport to nullify such appointment and trigger the right of numerous

beneficiaries of Durst family trusts — including two of the Trustees, Jonathan Durst and

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Douglas Durst — to secure future control over and ownership of the interests held by
Robert Durst’s Trusts. Absent the October 2001 restrictions, Robert Durst would be
able to appoint the property of the Trusts outright to his Wife and forever remove the
property from Durst family control. The remaining trustee, Siegler, turned a blind eye to
the conflicts of interest and self-dealing by Jonathan Durst and Douglas Durst in a
transparent effort to gain favor for his law firm, which has acted as long-time legal
counsel to the Durst family.

4. To remedy the wrongdoings by the Trustees, Robert Durst brings
this action for, among other things, a declaratory judgment, pursuant to 28 U.S.C.
Section 2201, et seq. and Section 7-2.4 of New York’s Estates, Powers and Trusts Law
(“EPTL”) seeking a declaration that the purported restrictions on Robert Durst's
testamentary powers are void or voidable by Robert Durst, as well as causes of action

for breach of fiduciary duty and for breach of contract.

THE PARTIES
5. Robert Durst is a resident of the State of Texas.
6. Upon information and belief, Defendant Siegler is an individual who

resides in the State of New York. Siegler is a partner with Stroock & Stroock & Lavan,
LLP (“Stroock”), a New York law firm that has long provided legal services to the Durst
family. At all relevant times, Siegler acted as a Trustee of the May 1962 and December
1962 Trusts.

7. Upon information and belief, Defendant Jonathan Durst is an
individual who resides in the State of New York. Jonathan Durst is a first cousin of

Robert Durst, a beneficiary of other Durst Family Trusts, and a member of the

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management of various Durst family entities and properties as described below. At all
relevant times, Jonathan Durst acted as a Trustee of the May 1962 and December 1962
Trusts.

8. Upon information and belief, Defendant Douglas Durst is an
individual who resides in the State of New York. Douglas Durst is Robert Durst’s
brother, a beneficiary of other Durst Family Trusts, and a member of the management
of various Durst family entities and properties. Douglas Durst is the President of the
Durst Organization. At all relevant times, Douglas Durst acted as a Trustee of the May

1962 and December 1962 Trusts.

JURISDICTION AND VENUE
9. This is a civil action, pursuant to 28 U.S.C. § 1332, between

citizens of different States, where the amount in controversy exceeds $75,000,
exclusive of interest and costs.
10. Further, jurisdiction over Plaintiffs claims is within the Court's
supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a).
- 11. Venue is proper in this District, pursuant to 28 U.S.C. § 1391,
because at least one of the parties to this action resides in this District and because a
substantial part of the events or omissions giving rise to the claims asserted herein

occurred in this District.

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BACKGROUND FACTS
The Durst Family and the Durst Family Trusts

12. The Durst family is one of New York City’s most prominent families,
and one of the most respected names in the City’s real estate industry. The Durst
family owns, manages and develops approximately ten (10) premium office buildings,
including the well-known 4 Times Square building.

13. | The value of the properties in the Durst family portfolio is estimated
to be in the billions of dollars.

14. | Robert Durst is a beneficiary of certain Durst family trusts, which
convey to him significant interests in the real properties controlled by the Durst family.

15. | Robert Durst's Trusts were but two of numerous trusts created in or
about 1962 by Seymour Durst to benefit the thirteen (13) grandchildren of Joseph Durst

(the “Other Durst Family Trusts”).

Robert Durst’s Trusts
16. In 1962, Seymour B. Durst (“Seymour Durst”) established two (2)

Trusts for the benefit of his son, Robert Durst. The express dispositional intent of
Seymour Durst with respect to these Trusts is reflected in and embodied by the

following two (2) documents:

(a) The Trust, dated May 1, 1962, for Robert Durst by and
between Seymour B. Durst, Grantor, and Royal H. Durst and
Robert D. Steefel, Trustees (the “May 1962 Trust
Agreement”), a copy of which is annexed hereto as Exhibit
"A"; and

(b) The Trust, dated December 31, 1962, for Robert Durst by
and between Seymour B. Durst, Grantor, and Royal H. Durst
and Robert D. Steefel, Trustees (the “December 1962 Trust
Agreement”), a copy of which is annexed hereto as Exhibit
"B" (the May 1962 Trust Agreement and the December 1962

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Trust Agreement are together referred to as the “Trust
Agreements’).

17. Upon information and belief, the May 1962 Trust owns interests in
two (2) Durst family entities: (i) The Durst Buildings Corporation (“DBC”); and (ii) 733
Properties, Inc. (“733 Properties”) (together, the “May 1962 Trust Business Interests’).
Robert Durst is the sole permissible beneficiary of the net income and principal of the
May 1962 Trust during his lifetime in the Trustees’ absolute discretion.

18. | Upon information and belief, the December 1962 Trust owns
interests in the following entities: (i) Durst Square Partners, LLC (“Durst Square’);
(ii) Durst 14 Investors, LLC (“Durst 14”); (iii) Eastern Pork Products Company, LLC
(“EPP”); (iv) the Durst Organization, L.P. (“Durst Organization”); and (v) Durst
Development, LLC (“Durst Development) (collectively, the “December 1962 Trust
Business Interests”) (the May 1962 Trust Business Interests and the December 1962
Trust Business Interests together are referred to as the “Trust Business Interests”).
Robert Durst is the life income beneficiary of the December 1962 Trust, and is the sole
permissible beneficiary of the principal of said trust during his lifetime in the Trustees’
absolute discretion.

Jonathan Durst and Douglas Durst Also Are Beneficiaries
of Durst Family Trusts

19. Two of the three Trustees of the May 1962 Trust and December
1962 Trust are Jonathan Durst and Douglas Durst.
20. Jonathan Durst and Douglas Durst themselves are beneficiaries of

Other Durst Family Trusts.

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21. ‘In particular, Jonathan Durst is the life beneficiary of the following
Durst family trusts: (i) a trust, dated May 1, 1962, with David Durst, as Grantor, for the
benefit of Jonathan Durst; and (ii) a trust, dated December 31, 1962, with David M.
Durst, as Grantor, for the benefit of Jonathan Durst (together, the “Jonathan Durst
Trusts”).

22. The Jonathan Durst Trusts own shares and/or interests in the
following entities: (i) DBC; (ii) 733 Properties; (iii) Durst Square; (iv) Durst 14; (v) EPP;
(vi) the Durst Organization; and (vii) Durst Development.

23. Moreover, Douglas Durst is the life beneficiary of: (i) a May 1, 1962
Trust with Seymour B. Durst, as Grantor, for the benefit of Douglas Durst; and (ii) a
December 31, 1962 Trust established by Seymour B. Durst, as Grantor, for the benefit
of Douglas Durst (together, the “Douglas Durst Trusts”).

24. Upon information and belief, the Douglas Durst Trusts own shares
and/or interests in: (i) DBC; (ii) 733 Properties; (iii) Durst Square; (iv) Durst 14; (v) EPP;
(vi) the Durst Organization; and (vii) Durst Development.

25. The trustees for Jonathan Durst's Trusts are also the Trustees of
Robert Durst’s Trusts.

26. Likewise, two of the Trustees of Robert Durst’s Trusts, Siegler and

Douglas Durst, act as trustees for Douglas Durst’s Trusts.

The Trusts Expressly Grant Robert Durst Unrestricted
Testamentary Limited Powers of Appointment to His Wife

27. Each of the May 1962 Trust and the December 1962 Trust
Agreements provides Robert Durst with a testamentary limited power to appoint the

trust principal to any member of a particular class consisting of: (i) his wife (or spouse);

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(ii) his issue; (iii) spouses of his issue; and/or (iv) the issue of his grandfather, Joseph

Durst.
28.

Agreement states:

In pertinent part, Article First, Paragraph (D) of the May 1962 Trust

(D) Upon the death of ROBERT DURST the
remaining principal shall be disposed of as he may
appoint by his Last Will, but only to or in favor of one
or more persons within a group consisting of: his
wife, his issue and issue of the Grantor's father,
Joseph Durst (provided, however, that issue of
JOSEPH DURST shall not include the Grantor, or the
estate of ROBERT DURST or the creditors of
ROBERT DURST or creditors of his estate). So much
of the principal as is not effectively appoint by
ROBERT DURST pursuant to the foregoing
provisions shall pass on his death to his then living
issue, in equal shares per stirpes or in default of such
issue to the Grantor's then living issue, in equal
shares per stirpes, or in default thereof, to the then
living issue, in equal shares per stirpes, of the
Grantor's father JOSEPH DURST (but if the Grantor
is then living, distributions shall be made as if the
Grantor were then deceased) or in default of such
issue, to THE DURST FOUNDATION, INC.

See Exhibit A at 4-5 (capitals in original) (emphasis added).

29.

According to the May 1962 Trust Agreement, Robert Durst may

exercise his power of appointment either outright or in trust. Article Eighth thus provides

in pertinent part:

See Exhibit A at 19.

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In exercising the power, the donee may appoint
outright or in trust and may grant further powers to
appoint, provided that beneficial interests may not be
appointed at any time in favor of a person who is not
within the group to whom the donee of the power may
appoint.

 
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30. |The December 1962 Trust Agreement also authorizes Robert Durst
to exercise his testamentary limited power of appointment in favor of his spouse, among
others. In particular, Article First, Paragraph (E) provides in relevant part:

Upon the death of ROBERT DURST, the remaining
principal shall be disposed of as he may appoint by
his Last Will, but only to or in favor of one or more
persons within a group consisting of: his spouse, his
issue, spouses of his issue, and issue of the Grantor's
father, JOSEPH DURST, (provided, however, that
issue of JOSEPH DURST shall not include the
Grantor, or the estate of ROBERT DURST or the
creditors of ROBERT DURST or creditors of ROBERT
DURST’S estate). So much of the principal as is not
effectively appointed by ROBERT DURST pursuant to
the foregoing provisions shall pass on his death to
Robert Durst’s then living issue, in equal shares per
stirpes or in default of such issue to the Grantor's then
living issue, in equal shares per stirpes, or in default
thereof, also to the then living issue, in equal shares
per stirpes, of the Grantor’s father, JOSEPH DURST
(But if the Grantor is then living, distributions shall be
made as if the Grantor were then deceased) or in
default of such issue, also to THE DURST
FOUNDATION, INC.

See Exhibit B at 2-3 (capitals in original) (emphasis added).

31. Article Eighth of the December 1962 Trust Agreement further states

that:

In exercising the power, the donee may appoint
outright or in trust and may grant further powers to
appoint, provided that beneficial interests may not be
appointed at any time in favor of a person who is not
within the group to whom the donee of the power may
appoint.

See Exhibit B at 19.

32. Neither of the Trust Agreements otherwise limits the right of Robert

Durst to exercise his testamentary limited powers of appointment.

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33. Nor do either of the Trust Agreements authorize the Trustees to
enter into any agreement or take any action that would restrict Robert Durst's
testamentary limited powers of appointment.

34. The express intent of Seymour Durst, as reflected by the explicit
terms of the May 1962 and December 1962 Trust Agreements, was to thereby grant
Robert Durst the right to exercise his testamentary limited powers to appoint, upon his
death, principal under each of the Trusts by express provision under his last will and
testament — including disposition of any shares comprising the Trust Business Interests
~— to any person who is a member of the permissible class of appointees, which includes

his Wife.

Robert Durst Marries

35. Onor about December 11, 2000, Robert Durst was married in a
private ceremony.

36. At the time, and up to and including October 9, 2001, no Durst
family member was aware of the marriage.

37. On October 9, 2001, Robert Durst was arrested and charged with
the murder of a Texas neighbor, Morris Black. Robert Durst pleaded not guilty and was
acquitted. The arrest of Robert Durst created a flurry of national media attention among
newspapers, television broadcasting stations and other news sources.

38. Shortly after October 9, 2001, members of the Durst family,
including the Trustees, first became aware of Robert Durst’s marriage, when press

reports regarding Robert Durst’s arrest made the marriage public.

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39. ‘If Robert Durst was not married, and since he has no children, the
then principal of the Trusts would pass to Joseph Durst’s “then living issue in equal
shares,” i.e., the twelve other grandchildren of Joseph Durst, who are beneficiaries of
the Other Durst Family Trusts, including Robert Durst’s cousin, Jonathan Durst and
brother, Douglas Durst.

40. Therefore, the news of Robert Durst’s marriage had significant

financial implications for Robert Durst’s relatives, including his siblings.

The Trustees Improperly Endeavor to Restrict
Robert Durst’s Testamentary Powers

41. Upon learning of Robert Durst’s marriage, the Trustees immediately
undertook a series of actions specifically designed to restrict Robert Durst from
exercising his testamentary limited powers of appointment and disposition of the Trust
Business Interests in favor of his Wife, as otherwise authorized by the Trust

Agreements.

The Purported Restrictions Affecting the May 1962 Trust
42. On October 15, 2001, the Trustees entered into a Shareholders’

Agreement purportedly on behalf of Robert Durst’s Trusts and Other Durst Family
Trusts with: (i) DBC; and (ii) 733 Properties (the “Shareholders’ Agreement”), a copy of
which is annexed hereto as Exhibit "C".

43. Among other things, the Shareholders’ Agreement endeavors to
restrict and/or condition the right of Robert Durst to freely dispose of his May 1962 Trust
Business Interests to his Wife, and nullify any transfer that does not comply with the

Shareholders’ Agreement.

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44.

In particular, Article 2.1 of the Shareholders’ Agreement states:

During the term of this Agreement, a Shareholder
shall not, either directly or indirectly, sell, assign,
distribute, mortgage, hypothecate, transfer, pledge,
create a security interest or lien upon, encumber, gift,
or otherwise dispose of (hereinafter “transfer’) all or
any Shares (or any interest or rights therein), whether
by operation of law or otherwise, except as provided
in Section 2.2 and 2.3 below. Any purported transfer
in any manner in violation of this Agreement shall be

null and void.

See Exhibit C (emphasis added).

45.

Article 2.3 of the Shareholders’ Agreement further provides:

Each Shareholder may, without the approval of the
other Shareholders, transfer some or all of his, her or
its Shares by Will, by descent as a result of intestacy,
by the terms of a trust agreement, by exercise of a
power of appointment, or by sale, assignment, gift or
other disposition to (a) one or more Members of the
Durst Family, or (b) a trust or trusts of which one or
more Members of the Durst Family and/or the spouse
of a Member of the Durst Family are the sole
beneficiaries, provided that (i) from the inception of
the trust and continuously thereafter at least fifty
percent (50%) of the trustees of such trust are
Members of the Durst Family and (ii) any subsequent
beneficiary, remainderman or other transferee of or
under such trust, whether by Will, laws of intestacy,
the terms of the trust agreement, exercise of a power
of appointment, gift, sale or otherwise, must be a
Member of the Durst Family or another trust that
meets the requirements of this clause (b), and the
trust instrument or Will must so specify.

See Exhibit C (emphasis added).

46.

Article 1 of the Shareholders’ Agreement limits the definition of

“Members of the Durst Family” to “a lineal descendent of Joseph Durst.” See Exhibit C.

47.

In direct contravention of the May 1962 Trust Agreement, the

Shareholders’ Agreement thus attempts to restrict, condition or otherwise affect Robert

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Durst’s testamentary powers. In the event Robert Durst chooses to appoint the May
1962 Trust Business Interests directly to his Wife, the Shareholders’ Agreement
effectively precludes any such distribution. Alternatively, if Robert Durst chooses to
appoint the May 1962 Trust Business Interests through his will to a trust under which his
Wife is a beneficiary, the Shareholders’ Agreement has the effect of imposing the
following restrictions: (i) any trust by Robert Durst naming his Wife as the beneficiary of
the May 1962 Trust Business Interests must also name lineal descendents of Joseph
Durst, as, at least, 50% of the trustees for such trust; and (ii) any distribution from the
May 1962 Trust Business Interests can only be made to a lineal descendent of Joseph
Durst, or to another trust, providing such other trust conforms to the same testamentary
restrictions imposed by the Shareholders’ Agreement.

48. Additionally, should Robert Durst appoint to his Wife the May 1962
Trust Business Interests in a manner that is entirely consistent with the testamentary
powers expressly granted to him by the May 1962 Trust, the Shareholders’ Agreement
purports to require a forced sale of the May 1962 Trust Business Interests to either DBC
or 733 Properties, or their designees, at their option. Indeed, the Shareholders’
Agreement even seeks to afford DBC and 733 Properties, and/or their designees, the
discretion whether to pay the proceeds of such a sale to the transferring Shareholder,
the non-permitted transferee, or both.

49. Section 2.5 of the Shareholders’ Agreement provides in pertinent
part:

(a) If all or any portion of a Shareholder’s Shares
are transferred by operation of law or otherwise to a

person other than a permitted transferee pursuant to
Sections 2.2 or 2.3 hereof, including a transfer to the

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committee, guardian or conservator of an
incapacitated Shareholder if such committee,
guardian or conservator includes a person who is not
a Member of the Durst Family or to a trustee in
bankruptcy of a Shareholder, then in addition to all
other remedies available to the Corporations,
including the right to declare such transfer null and
void, DBC or 733, as the case may be, or its
designee, shall have the right at its option to purchase
some or all of the Shares so transferred (the
“Transferred Shares”) at their appraised fair market
value and on the terms as determined in accordance
with the succeeding paragraph. DBC or 733, as the
case may be, shall have one year from the date it
receives written notice of such transfer to exercise
such option.

See Exhibit C (emphasis added).
50. The other shareholders of DBC and 733 Properties include, among
others, the Jonathan Durst Trust and the Douglas Durst Trust.
51. | Moreover, under the Shareholders’ Agreement, the price to be paid
for any such forced sale of the May 1962 Trust Business Interests is to be (i) based on a
value unilaterally determined by an appraiser exclusively selected by the Durst family
(through their management control of DBC and 733 Properties) without permitting any
corroborating or competing valuation by an appraiser selected by the May 1962 Trust,
the estate of Robert Durst and/or his Wife; (ii) at a discount; and (iii) paid over a period
of time as long as twenty (20) years.
52.  Inrelevant part, Section 2.5 of the Shareholders’ Agreement
continues as follows:
(b) DBC or 733, as the case may be, shall appoint
an appraiser knowledgeable in real estate matters to
determine the fair market value of the Transferred
Shares. Within thirty days of his selection, the

appraiser shall deliver to DBC or 733, as the case
may be his appraisal setting forth such fair market

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value. In making the appraisal, the appraiser shall
take into account discounts for a minority interest and
for lack of marketability. The transferring Shareholder
and/or the non-permitted transferee shall be required
to sell the Transferred Shares at the appraised fair
market value as so determined by such appraisal.
Such purchase price shall be paid in cash over such
period of time (not to exceed twenty years from the
date of the closing) as DBC or 733, as the case may
be, shall determine and with interest on the deferred
balance at the appropriate Applicable Federal Rate as
determined pursuant to Section 1274(d) of the
Internal Revenue Code. The closing shall occur not
later than thirty days following the submission of the
appraisal, such date to be selected by DBC or 733, as
the case may be.

 

See Exhibit C (emphasis added).

53. Prior to October 15, 2001, neither DBC nor 733 Properties was
subject to a shareholders’ agreement, or any other agreement that in any way restricted
Robert Durst’s testamentary limited power of appointment granted by the May 1962
Trust.

54. Atnotime prior to October 15, 2001 did the Trustees ever disclose
to, inform or otherwise discuss the Shareholders’ Agreement, or its purported effect on
the testamentary rights afforded by the May 1962 Trust, with Robert Durst.

55. Robert Durst never reviewed, signed, consented to or ratified the
Shareholders’ Agreement, or the Trustees’ efforts to bind the May 1962 Trust or the
May 1962 Trust Business Interests.

56. Douglas Durst signed the Shareholders’ Agreement not only in his
capacity as one of the Trustees, but also in his role as President of both DBC and 733

Properties.

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57. Siegler knew of the personal interests of Jonathan Durst and
Douglas Durst in attempting to restrict Robert Durst’s testamentary powers under the
May 1962 Trust, and of their possible conflicts of interest, but nevertheless approved
and executed the Shareholders’ Agreement, which, upon information and belief, he or

his firm, Stroock, drafted.

The Purported Restrictions Affecting the December 1962 Trust

58. The Trustees also simultaneously attempted to impose similar
restrictions on Robert Durst's testamentary rights under the December 1962 Trust by

amending the operating agreements of each of the entities in which the December 1962

Trust owns an interest.

(a) Durst Square Partners, LLC Amendment
59. Section 7.2(c) of the Operating Agreement of Durst Square, made

as of September 4, 1996, as amended and restated as of October 15, 2001 (a copy of
which is annexed hereto as Exhibit "D"), provides:

Each Member may, without the approval of the
Manager or any of the Members, transfer all or any
part of his Membership Interest by Will, by descent as
a result of intestacy, by the terms of a trust
instrument, by exercise of a power of appointment, or
by sale, assignment, gift or other disposition to (1)
one or more members of the Durst family (as defined
in Section 7.2(e)), or (2) a trust or trusts of which one
or more members of the Durst family (as defined in
Section 7.2(e)) and/or a spouse of a member of the
Durst family (as defined in Section 7.2(e)) are the sole
beneficiaries, provided that (i) from the inception of
the trust and continuously thereafter at least fifty
percent (50%) of the trustees of such trust are the
Member or members of the Durst family (as defined in
Section 7.2(e)) and (ii) any subsequent beneficiary,
remainderman or other transferee of or under such
trust, whether by Will, laws or intestacy, the terms of

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the trust agreement, exercise of a power of
appointment, gift, sale or otherwise, must be a
member of the Durst family (as defined in Section
7.2(e)) or another trust that meets the requirements of
this clause (2), and the trust instrument or Will must
so specify. Any permitted transferee receiving all or
any part of the Member’s Membership Interest as a
result of the foregoing shall be substituted as a
Member, subject to all of the terms and conditions of
this Agreement.

See Exhibit D at 19-20 (emphasis added).

60.

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Moreover, Section 7.2(d) states:

(1) If all or any portion of a Member's Membership
Interest is transferred by operation of law or otherwise
to a person other than a permitted transferee
pursuant to clauses (b) or (c) of this Section, including
a transfer to the committee, guardian or conservator
of an incapacitated Member if such committee,
guardian or conservator includes a person who is not
a member of the Durst Family (as defined in Section
7.2(e)) or to a trustee in bankruptcy of a Member,
then in addition to all other remedies available to the
Company, including the right to declare such transfer
null and void, the Company, or its designee, shall
have the right at its option to purchase all or a portion
of the Membership Interest so transferred (the
“Transferred Interest”) at its appraised fair market
value and on the terms as determined in accordance
with the succeeding paragraph. The Company shall
have one year from the date it receives written notice
of such transfer to exercise such option.

(2) |The Manager shall appoint an appraiser
knowledgeable in real estate matters to determine the

fair market value of the Transferred Interest. Within
thirty days of his selection, the appraiser shall deliver
to the Manager his appraisal setting forth such fair

market value. In making the appraisal, the appraiser
shall take into account discounts for a minority

interest and for lack of marketability. The transferring
Member and/or the non-permitted transferee shall be
required to sell the Transferred Interest at the

appraised fair market value as so determined by such

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appraisal. Such purchase price shall be paid in cash

over such period of time (not to exceed twenty years

from the date of the closing) as the Manager shall

determine and with interests on the deferred balance

at the appropriate Applicable Federal Rate as

determined pursuant to Section 1274(d) of the

Internal Revenue Code. The closing shall occur not

later than thirty days following the submission of the

appraisal, such date to be selected by the Manager.
See Exhibit D at 20 (emphasis added).

61. Like the Shareholders’ Agreement, Section 7.2(e) confines the

definition of a member of the Durst family to “a lineal descendent of Joseph Durst.” See

Exhibit D at 21.

62. Prior to October 15, 2001, Durst Square was not subject to any
operating agreement or any other agreement that restricted the testamentary powers
granted Robert Durst by the December 1962 Trust.

63. Moreover, Douglas Durst signed the October 13, 2001 amendment
to Durst Square’s operating agreement not only as one of the Trustees, but also in his
capacity as President of DBC, 733 Properties, and the Durst Organization. See Exhibit
D at 30.

(b) Durst 14 Investors, LLC Amendment

64. The Operating Agreement of Durst 14, made as of October 371,
2000, as amended and restated as of October 15, 2001 (a copy of which is annexed
hereto as Exhibit "E"), similarly states in Section 5.2(c):

Each Member may, without the approval of the
Manager or any of the Members, transfer all or any
part of his Membership Interest by Will, by descent as
a result of intestacy, by the terms of a trust
instrument, by exercise of a power of appointment, or
by sale, assignment, gift or other disposition to (1)
one or more members of the Durst family (as defined

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in Section 5.2(e)), or (2) a trust or trusts of which one
or more members of the Durst family (as defined in
Section 5.2(e)) and/or a spouse of a member of the
Durst family (as defined in Section 5.2(e)) are the sole
beneficiaries, provided that (i) from the inception of
the trust and continuously thereafter at least fifty
percent (50%) of the trustees of such trust are the
Member or members of the Durst family (as defined in
Section 5.2(e)) and (ii) any subsequent beneficiary,
remainderman or other transferee of or under such
trust, whether by Will, laws of intestacy, the terms of
the trust agreement, exercise of a power of
appointment, gift, sale or otherwise, must be a
member of the Durst family (as defined in Section
5.2(e)) or another trust that meets the requirements of
this clause (2), and the trust instrument or Will must
so specify. Any permitted transferee receiving all or
any part of the Member's Membership Interest as a
result of the foregoing shall be substituted as a
Member, subject to all the terms and conditions of this
Agreement.

See Exhibit E at 8 (emphasis added).

65.

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Section 5.2(d) further provides:

(1) _ Ifall or any portion of a Member’s Membership
Interest is transferred by operation of law or otherwise
to a person other than a permitted transferee

pursuant to clauses (b) or (c) of this Section, including
a transfer to the committee, guardian or conservator
of an incapacitated Member if such committee,
guardian or conservator includes a person who is not
a member of the Durst Family (as defined in Section
5.2(e)) or to a trustee in bankruptcy of a Member,
then in addition to all other remedies available to the
Company, including the right to declare such transfer
null and void, the Company, or its designee, shall
have the right at its option to purchase all or a portion
of the Membership Interest so transferred (the
“Transferred Interest”) at its appraised fair market
value and on the terms as determined in accordance
with the succeeding paragraph. The Company shall
have one year from the date it receives written notice
of such transfer to exercise such option.

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(2) |The Manager shall appoint an appraiser
knowledgeable in real estate matters to determine the

fair market value of the Transferred Interest. Within
thirty days of his selection, the appraiser shall deliver
to the Manager his appraisal setting forth such fair
market value. In making the appraisal, the appraiser
shall take into account discounts for a minority
interest and for lack of marketability. The transferring
Member and/or the non-permitted transferee shall be
required to sell the Transferred Interest at the
appraised fair market value as so determined by such
appraisal. Such purchase price shall be paid in cash
over such period of time (not to exceed twenty years
from the date of the closing) as the Manager shall
determine and with interests on the deferred balance
at the appropriate Applicable Federal Rate as
determined pursuant to Section 1274(d) of the
Internal Revenue Code. The closing shall occur not
later than thirty days following the submission of the
appraisal, such date to be selected by the Manager.

See Exhibit E at 9-10 (emphasis added).

66. Section 5.2(e) states “For purposes of the Agreement, a member of
the Durst family means a lineal descendent of Joseph Durst.” See Exhibit E at 10.

67. Prior to October 15, 2001, Durst 14 was not subject to any
operating agreement or any other agreement that restricted Robert Durst’s testamentary
limited powers granted by the December 1962 Trust.

68. Douglas Durst executed the October 15, 2001 amendment to Durst
14’s operating agreement not only as one of the Trustees, but also in his capacity as

President of the Durst Organization. See Exhibit E at 18.

(c) The Eastern Pork Products Company, LLC Amendment

69. The Operating Agreement of EPP also was amended and restated
as of October 15, 2001 (a copy of which is annexed hereto as Exhibit "F"), and provides

in Section 5.2(c) that:

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Each Member may, without the approval of the
Manager or any of the Members, transfer all or any
part of his Membership Interest by Will, by descent as
a result of intestacy, by the terms of a trust
instrument, by exercise of a power of appointment, or
by sale, assignment, gift or other disposition to (1)
one or more members of the Durst family (as defined
in Section 5.2(e)), or (2) a trust or trusts of which one
or more members of the Durst family (as defined in
Section 5.2(e)) and/or a spouse of a member of the
Durst family (as defined in Section 5.2(e)) are the sole
beneficiaries, provided that (i) from the inception of
the trust and continuously thereafter at least fifty
percent (50%) of the trustees of such trust are the
Member or members of the Durst family (as defined in
Section 5.2(e)) and (ii) any subsequent beneficiary,
remainderman or other transferee of or under such
trust, whether by Will, laws of intestacy, the terms of
the trust agreement, exercise of a power of
appointment, gift, sale or otherwise, must be a
member of the Durst family (as defined in Section
5.2(e)) or another trust that meets the requirements of
this clause (2), and the trust instrument or Will must
so specify. Any permitted transferee receiving all or
any part of the Member’s Membership Interest as a
result of the foregoing shall be substituted as a
Member, subject to all the terms and conditions of this
Agreement.

See Exhibit F at 8 (emphasis added).

70.

Again, any attempt by Robert Durst to transfer any interest in a

manner not in accordance with the alleged restrictions purports to nullify the transfer

and trigger an option to purchase Robert Durst's interests. In relevant part, Section

5.2(d) states:

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(1) _ If all or any portion of a Member’s Membership
Interest is transferred by operation of law or otherwise
to a person other than a permitted transferee

pursuant to clauses (b) or (c) of this Section, including
a transfer to the committee, guardian or conservator
of an incapacitated Member if such committee,
guardian or conservator includes a person who is not

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a member of the Durst Family (as defined in Section
5.2(e)) or to a trustee in bankruptcy of a Member,
then in addition to all other remedies available to the
Company, including the right to declare such transfer
null and void, the Company, or its designee, shall
have the right at its option to purchase all or a portion
of the Membership Interest so transferred (the
“Transferred Interest”) at its appraised fair market
value and on the terms as determined in accordance
with the succeeding paragraph. The Company shall
have one year from the date it receives written notice
of such transfer to exercise such option.

(2) |The Manager shall appoint an appraiser
knowledgeable in real estate matters to determine the
fair market value of the Transferred Interest. Within
thirty days of his selection, the appraiser shall deliver
to the Manager his appraisal setting forth such fair
market value. In making the appraisal, the appraiser
shall take into account discounts for a minority
interest and for lack of marketability. The transferring
Member and/or the non-permitted transferee shall be
required to sell the Transferred Interest at the
appraised fair market value as so determined by such
appraisal. Such purchase price shall be paid in cash
over such period of time (not to exceed twenty years
from the date of the closing) as the Manager shall
determine and with interests on the deferred balance
at the appropriate Applicable Federal Rate as
determined pursuant to Section 1274(d) of the
Internal Revenue Code. The closing shall occur not
later than thirty days following the submission of the
appraisal, such date to be selected by the Manager.

See Exhibit F at 9 (emphasis added).

71. Once again, Section 5.2(e) states that “a member of the Durst
family means a lineal descendent of Joseph Durst.” See Exhibit F at 10.

72. Prior to October 15, 2001, EPP was not subject to any operating
agreement or any other agreement that restricted the testamentary powers granted

Robert Durst by the December 1962 Trust.

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73. Douglas Durst signed the October 15, 2001 amendment to EPP’s
operating agreement not only in his capacity as one of the Trustees, but also as
President of the Durst Organization. See Exhibit F at 16-17.

(d) The Durst Organization, L.P. and Durst Development, LLC
Amendments

74. | Upon information and belief, on or about October 15, 2001, the
Trustees executed amendments to the operating agreements of the Durst Organization
and Durst Development that contained the same or substantially similar restrictions on
Robert Durst’s testamentary transfer rights. (The October 15, 2001 Amendments to the
Operating Agreements of Durst Square, Durst 14, EPP, Durst Organization and Durst
Development collectively are referred to as the “October 15, 2001 Amendments” and
are incorporated herein by reference).

75. — Prior to October 15, 2001, upon information and belief, neither the
Durst Organization nor Durst Development was subject to any operating agreement or
any other agreement that restricted the testamentary powers granted Robert Durst by
the December 1962 Trust.

76. The October 15, 2001 Amendments thus directly. contravene the
December 1962 Trust Agreement and attempt to restrict, condition or otherwise affect
Robert Durst's testamentary powers by, among other things: (i) effectively precluding
any direct appointment of the December 1962 Trust Business Interests to his Wife; (ii)
requiring any trust by Robert Durst naming his Wife as the beneficiary of the December
1962 Trust Business Interests to also name lineal descendents of Joseph Durst, as, at
least, 50% of the trustees for such trust; and (iii) requiring that any distribution from the

December 1962 Trust Business Interests only be made to a lineal descendent of

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Joseph Durst, or to another trust, providing such other trust conforms to the same
testamentary restrictions imposed by the October 15, 2001 Amendments.

77. Further, in the event Robert Durst appoints to his Wife the
December 1962 Trust Business Interests in a manner that is entirely consistent with the
testamentary powers expressly granted to him by the December 1962 Trust, the
October 15, 2001 Amendments also purport to afford other Durst family members the
discretion to force a sale of the December 1962 Trust Business Interests (i) based on a
value unilaterally determined by an appraiser exclusively selected by the Durst family
(through their management control) without permitting any corroborating or competing
valuation by an appraiser selected by the December 1962 Trust, the estate of Robert
Durst and/or his Wife; (ii) at a discount; and (iii) paid over a period of time as long as
twenty (20) years.

78. Moreover, like the Shareholders’ Agreement, the October 15, 2001
Amendments too attempt to afford other Durst family members the discretion whether to
pay the proceeds of such a sale to the transferring Shareholder, the non-permitted
transferee, or both.

79. Robert Durst never reviewed, signed, consented to or ratified the
October 15, 2001 Amendments, or the Trustees’ efforts to bind the December 1962
Trust or the December 1962 Trust Business Interests.

80. Siegler knew of the personal interests of Jonathan Durst and
Douglas Durst in attempting to restrict Robert Durst’s testamentary powers under the

December 1962 Trust, and of their potential conflict of interest, but nevertheless also

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approved and executed the October 15, 2001 Amendments, which, upon information
and belief, he or his firm, Stroock, drafted.

Robert Durst Objects to the Trustees’ Efforts to Restrict His Testamentary
Rights Under the Trusts

81. | Upon learning of the Trustees’ actions, Robert Durst notified the
Trustees that he did not in any way consent to or ratify the purported restrictions on his
testamentary rights under the Trusts by the Shareholders’ Agreement or the October
15, 2001 Amendments.

82. In particular, by letter dated May 12, 2003 (a copy of which is
annexed hereto as Exhibit “G”), counsel for Robert Durst informed the Trustees that
Robert Durst considered the Shareholders’ Agreement to be null and void:

We hereby notify the Trustees, DBC and 733, that
Robert does not ratify or give consent to the actions of
the Trustees in entering into Shareholders’
Agreement, nor does he ratify or give consent to any
of the terms, restrictions and conditions purportedly
imposed by said Shareholders’ Agreement or any
actions that may have been undertaken by the
Trustees or others in reliance upon said terms,
restrictions and conditions. Accordingly, we hereby
notify the Trustees, DBC and 733, on behalf of Robert
Durst, that we consider said Shareholders’ Agreement
and the Trustees’ actions upon entering into said
Shareholders’ Agreement, to be null and void and to
have no force or effect upon his rights, interests and
power as a beneficiary of said Trust.

See Exhibit G.

83. By separate letter, also dated May 12, 2003 (a copy of which is
annexed hereto as Exhibit “H”), counsel for Robert Durst similarly informed the Trustees
that Robert Durst considered the October 15, 2001 Amendments to be null and void

(together, the May 12, 2003 letters are referred to as the “May 12 Objections’):

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We hereby notify the Trustees and the entities copied
below in which interests are held by the Trust,
including, but not limited to, Durst Square, Durst 14
and EPP, that Robert Durst does not ratify or give
consent to the actions of the Trustees in entering into
said Operating Agreements or other similar
agreements affecting the remaining entities, nor does
he ratify or give consent to any of the terms,
restrictions and conditions purportedly imposed by
said Operating Agreements (or by other similar
agreements affecting the remaining entities) or any
actions that may have been undertaken by the
Trustees or others in reliance upon said terms,
restrictions and conditions.

See Exhibit H.

84. The May 12 Objections also advised the Trustees that Robert Durst
believed the Trustees Jonathan Durst and Douglas Durst, themselves Other Durst
Family Trust beneficiaries, had acted with a conflict of interest and/or in their own self-
interests. See Exhibits G, H.

85. Subsequently, by letter dated May 30, 2003, incorporated herein by
reference, the Trustees refused to reconsider their actions with respect to Robert
Durst’s Trusts:

We appreciate that Robert Durst did not ratify the
signing of the shareholders agreement. However,
ratification by Robert Durst was not called for under
the terms of the Trust instrument, and the fact that he

did not ratify the signing of the shareholders
agreement certainly does not render it null and void.

86. In addition, by the same letter, the Trustees informed Robert Durst
that “they intend zealously to defend their actions, which were taken for the benefit of all
of the beneficiaries of all of the trusts.” (emphasis added). Again, these beneficiaries

include two of Robert Durst’s Trustees, Jonathan Durst and Douglas Durst.

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AS AND FOR A FIRST CAUSE OF ACTION

(Declaratory Judgment That The Actions By The Trustees With Respect To The
Robert Durst Trusts Are Void Pursuant To EPTL § 7-2.4)

87.

Plaintiff repeats and realleges every allegation contained in

paragraphs 1 through 86, as if fully set forth herein.

88.

The Trusts and Trust Agreements expressly authorize Robert Durst

to freely exercise his testamentary limited powers of appointment and to dispose of the

Trust Business Interests to his Wife.

89.

90.

New York's EPTL § 10-5.1 provides:

The scope of the donee’s authority as to appointees
and as to the time and manner of the appointment is
unlimited except as the donor manifests a contrary
intention.

The Trustees have an obligation to, at all times, act in a manner

that is consistent with the Trusts and the Trust Agreements.

91.

92.

New York's EPTL § 7-2.4 states:

If the trust is expressed in the instrument creating the
estate of the trustee, every sale, conveyance or other
act of the trustee in contravention of the trust, except
as authorized by this article and by any other
provision of law, is void.

The Trustees’ actions, allegedly on behalf of the Trusts with respect

to the Shareholders’ Agreement and the October 15, 2001 Amendments, which purport

to restrict, condition or otherwise affect Robert Durst’s testamentary rights under the

Trusts and/or Trust Agreements, directly contravene the express terms of the Trusts

and create an actual and justiciable controversy between Robert Durst and the

Trustees.

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93. Robert Durst, therefore, seeks a declaration by this Court, pursuant
to the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq. and EPTL § 7-2.4, that any
terms, restrictions and/or conditions in the Shareholders’ Agreement and/or the October
15, 2001 Amendments purportedly imposed upon or affecting Robert Durst’s
testamentary limited powers of appointment are void. Such a judicial declaration is

necessary and appropriate at this time under the circumstances alleged.

AS AND FOR A SECOND CAUSE OF ACTION
(Declaratory Judgment That The Actions By The Trustees With Respect
To Robert Durst’s Trusts Are Voidable by Robert Durst)

94. Plaintiff repeat and realleges every allegation contained in the
paragraphs 1 through 93, as if fully set forth herein.

95. Asset forth above, the Trustees improperly engaged in self-dealing
and with a clear conflict of interest by entering into the Shareholders’ Agreement and
October 15, 2001 Amendments purportedly on behalf of Robert Durst’s Trusts.

96. As beneficiaries of Durst family trusts themselves, Jonathan Durst
and Douglas Durst improperly are attempting to secure future control over and
ownership of the Trust Business Interests.

97. Absent the Shareholders’ Agreement and October 15, 2001
Amendments, Robert Durst would be able to appoint the property of the Trusts outright
to his Wife, and thereby forever remove the property from Durst family control.

98. Likewise, Siegler was acting to further the interests of his law firm
and secure favorable status as legal counsel to Jonathan Durst, Douglas Durst and/or

the Durst family.

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99. Robert Durst never consented to or ratified any of the actions by
the Trustees relating to the Shareholders’ Agreement and/or the October 15, 2001
Amendments, and, in fact, by and through the May 12 Objections, formally opposed
such actions.

100. By reason of the foregoing, an actual and justiciable controversy
exists between Robert Durst and the Trustees as to whether the actions by the Trustees
with respect to the Shareholders’ Agreement and the October 15, 2001 Amendments
placed the interests of the Trustees in conflict with the interests of Robert Durst and/or
were accompanied by self-dealing, thus rendering such actions voidable by Robert

Durst.

101. Robert Durst, therefore, seeks a declaration by this Court, pursuant
to the Declaratory Judgment Act, 28 U.S.C. § 2201, ef. seq., that because the Trustees
acted with a conflict of interest and/or in their own self-interest, any terms, restrictions or
conditions in the Shareholders’ Agreement and the October 15, 2001 Amendments
purportedly imposed upon or affecting Robert Durst’s testamentary limited powers of
appointment are voidable by Robert Durst. Such a judicial declaration is necessary and

appropriate at this time under the circumstances alleged.

AS AND FOR A THIRD CAUSE OF ACTION
(Breach of Trust Agreements)

102. Plaintiff repeats and realleges every allegation contained in
paragraphs 1 through 101, as if fully set forth herein.
103. The Trust Agreements constitute valid and enforceable contracts

supported by good and adequate consideration.

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104. Robert Durst is an intended beneficiary of the Trusts and/or the
Trust Agreements.

105. As detailed above, the Trustees materially breached the terms of
the Trust Agreements by, among other things: (i) failing to administer the Trusts in a
manner consistent with the wishes of Seymour Durst, and, in particular, by attempting to
frustrate Robert Durst’s testamentary limited powers of appointment of the Trust
Business Interests to his Wife; (ii) failing to disclose to Robert Durst the restrictions or
conditions on his testamentary rights purportedly imposed by the Shareholders’
Agreement and the October 15, 2001 Amendments; and/or (iii) failing to administer the
Trusts consistent with Robert Durst’s interests as life beneficiary of the Trusts.

106. In addition, the Trustees independently breached their contractual
duties by acting with a conflict of interest and/or in their own self-interest.

107. More specifically, Jonathan Durst and Dougias Durst attempted to
secure future contro! over and ownership of the Trust Business Interests for their own
benefit, as members of the Durst family, beneficiaries of Other Durst Family Trusts, and
shareholders in DBC, 733 Properties, Durst Square, Durst 14, EPP, the Durst
Organization, and Durst Development.

108. The possibility of conflicts of interest also arose because Jonathan
Durst and Douglas Durst also simultaneously held management positions in the entities
in which the Trusts maintained interests.

109. By executing, assenting to and, upon information and belief,
drafting, either personally or through his firm, the Shareholders’ Agreement and the

October 15, 2001 Amendments, Siegler too acted with a conflict of interest (or the

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possibility thereof) and/or in furtherance of his own personal interests. Despite knowing
of Jonathan Durst’s and Douglas Durst’s conflicts of interest and self-dealing, Siegler
nevertheless acceded to their actions because Siegler’s law firm, Stroock, has been
long-time legal counsel to Jonathan Durst, Douglas Durst, and/or the Durst family, and
Siegler was endeavoring to secure the relationship and garner more business between
his law firm and the Durst family and/or the entities they control, own or manage.

110. As adirect and proximate result of the Trustee’s breaches, Robert

Durst has been damaged in an amount to be determined at trial.

AS AND FOR A FOURTH CAUSE OF ACTION
(Breach of Fiduciary Duty)

111. Plaintiff repeats and realleges every allegation contained in
paragraphs 1 through 110, as if fully set forth herein.

112. By virtue of their positions as Trustees of the May 1962 and
December 1962 Trusts, Siegler, Jonathan Durst and Douglas Durst each is a fiduciary
to Robert Durst.

113. As fiduciaries, the Trustees each owed and continue to owe Robert
Durst the duty to at all times act with the utmost good faith; loyalty and care.

114. The duty of loyalty owed by the Trustees to Robert Durst is
absolute and undivided.

115. The Trustees are bound to administer the Trusts solely in the
interests of Robert Durst as a life beneficiary of the Trusts.

116. Similarly, the Trustees are charged with the duty to carry out the
wishes of Seymour Durst, as reflected in the Trusts and the Trust Agreements, with

absolute fidelity and without any partiality between beneficiaries.

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1417. The Trustees are prohibited from placing themselves in a position
where their own personal interests will or potentially will come in conflict with the
interests of Robert Durst.

118. The Trustees each breached the fiduciary obligations owed to
Robert Durst by, among other things: (i) failing to administer the Trusts in a manner
consistent with the wishes of Seymour Durst, and, in particular, by frustrating Robert
Durst’s testamentary limited powers of appointment of the Trust Business Interests to
his Wife; (ii) failing to disclose to Robert Durst the restrictions or conditions on his
testamentary rights purportedly imposed by the Shareholders’ Agreement and the
October 15, 2001 Amendments; and/or (iii) failing to administer the Trusts consistent
with Robert Durst’s interests as life beneficiary of the Trusts.

119. In addition, the Trustees breached their fiduciary duties by creating
the possibility of a conflict of interest with Robert Durst, acting with an actual conflict of
interest, and/or acting in their own self-interest.

120. More specifically, Jonathan Durst and Douglas Durst attempted to
secure future control over and ownership of the Trust Business Interests for their own
benefit, as members of the Durst family, beneficiaries of Other Durst Family Trusts, and
shareholders in DBC, 733 Properties, Durst Square, Durst 14, EPP, the Durst
Organization, and Durst Development.

121. The possibility of conflicts of interest also arose because Jonathan
Durst and Douglas Durst simultaneously held management positions in the entities in

which the Trusts maintained interests.

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122. By executing, assenting to and, upon information and belief
drafting, either personally or through his firm, the Shareholders’ Agreement and the
October 15, 2001 Amendments, Siegler too acted with a conflict of interest (or the
possibility thereof) and/or in furtherance of his own personal interests. Despite knowing
of Jonathan Durst’s and Douglas Durst’s conflicts of interest and self-dealing, Siegler
nevertheless acceded to their actions because Siegler’s law firm, Stroock, has been
long-time legal counsel to Jonathan Durst, Douglas Durst, and/or the Durst family, and
Siegler was endeavoring to secure the relationship and garner more business between
his law firm and the Durst family and/or the entities they control, own or manage.

123. Asa direct and proximate result of the Trustees’ wrongful conduct,
breaches and failures to discharge their fiduciary duties, as alleged, Robert Durst has
been damaged in an amount to be determined at trial.

124. Moreover, because the Trustees’ actions were outrageous,
malicious and/or wanton, Robert Durst is entitled to an award of punitive damages in an

amount to be determined at trial.

AS AND FOR A FIFTH CAUSE OF ACTION
(Breach of Duty of Good Faith and Fair Dealing)

125. Plaintiff repeats and realleges every allegation contained in
paragraphs 1 through 124, as if fully set forth herein.

126. Under New York law, which governs the Trusts, a duty of good faith
and fair dealing is implicit in every contract, including the Trust Agreements.

127. Asset forth above, and incorporated herein, Robert Durst is the

intended beneficiary of the Trusts and/or the Trust Agreements.

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128. The Trustees breached their duty of good faith and fair dealing
under the Trusts and the Trust Agreements by (i) acting in a manner that is in direct
contravention of the express terms of the Trusts; and/or (ii) acting with a conflict of
interest and/or in their own self-interest, as detailed above and incorporated herein.

129. The Trustees thus have acted in bad faith, have not dealt fairly with
Robert Durst, and have deprived Robert Durst of benefits to which he is entitled under
the Trusts.

130. As adirect and proximate result of the foregoing, Robert Durst has

been damaged in an amount to be determined at trial.

AS AND FOR A SIXTH CAUSE OF ACTION
(Unjust Enrichment)
(Against Jonathan Durst and Douglas Durst Only)

131. Plaintiff repeats and realleges every allegation contained in
Paragraph 1 through 130, as if fully set forth herein.

132. By virtue of their positions as Trustees of Robert Durst’s Trusts,
Jonathan Durst and Douglas Durst have purported to execute the Shareholders’
Agreement and the October 15, 2001 Amendments and restrict, condition or otherwise
affect Robert Durst’s testamentary rights under the Trusts to further their own financial
interests.

133. Jonathan Durst and Douglas Durst thus unjustly used their position
of trust and fidelity for their own benefit and at the expense of Robert Durst.

134. As adirect and proximate result, Robert Durst has been damaged

in an amount to be determined at trial.

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JURY DEMAND

135. Plaintiff demands a trial by jury.

PRAYER FOR RELIEF

WHEREFORE, plaintiff, Robert Durst respectfully requests judgment

against defendants Richard Siegler, Jonathan Durst and Douglas Durst as follows:

1.

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With Respect to the First Cause of Action:

(a)
(b)

(c)

Judgment in favor of Robert Durst and against Defendants;

Declaring, pursuant to the Declaratory Judgment Act, 28
U.S.C. § 2201, et seq. and EPTL § 7-2.4, that any terms,
restrictions and/or conditions in the Shareholders’
Agreement and/or the October 15, 2001 Amendments
purportedly imposed upon or affecting Robert Durst’s
testamentary rights under the Trusts are void; and

Such other, further and different relief as this Court deems
just, proper and equitable, including, but not limited to,
recovery of any surcharges as may be improperly imposed
against the Trusts regarding legal fees and/or other
expenses for the defense of this action.

With Respect to the Second Cause of Action:

(a)
(b)

(c)

Judgment in favor of Robert Durst and against Defendants;

Declaring, pursuant to the Declaratory Judgment Act, 28
U.S.C. § 2201, et seq., that because the Trustees acted with
a conflict of interest and/or for their own self-interests, any
terms, restrictions or conditions in the Shareholders’
Agreement and the October 15, 2001 Amendments
purportedly imposed upon or affecting Robert Durst’'s
testamentary rights under the Trusts are voidable by Robert
Durst; and

Such other, further and different relief as this Court deems
just, proper and equitable, including, but not limited to,
recovery of any surcharges as may be improperly imposed
against the Trusts regarding legal fees and/or other
expenses for the defense of this action.

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3.

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With Respect to the Third, Fourth, Fifth and Sixth Causes of Action:

(a)
(b)

(c)
(d)

(e)

(f)

(9)

(h)

(i)

Judgment in favor of Robert Durst and against Defendants;
An accounting of:

(i) The May 1962 Trust;

(ii) The December 1962 Trust;

(iii) © The Durst Buildings Corporation;

(iv) 733 Properties, Inc.;

(v) Durst Square Partners, LLC;

(vi) Durst 14 Investors, LLC;

(vii) Eastern Pork Products Company, LLC;
(vill) The Durst Organization, L.P.;

(ix) Durst Development, LLC; and

(x) | any and all other entities, properties, partnerships,
corporations or funds in which defendants act as
Trustees for Robert Durst;

Damages in an amount to be determined at trial;

Removal of the Trustees from the Trusts, pursuant to EPTL
§ 7-2.6(a)(2) and/or SCPA § 711;

Appointment of new trustees for the Trusts, pursuant to
EPTL § 7-2.6(a)(3);

Reasonable attorneys’ fees, the costs of suit and all
expenses and disbursements incurred in this action;

Pre and post-judgment interest the maximum rate allowed by
law;

With respect to the Fourth Cause of Action only, awarding
punitive damages because of the outrageous, malicious and
wanton conduct of the Trustees in an amount to be
determined at trial; and

Such other, further and different relief as this Court deems
just, proper and equitable, including, but not limited to,
recovery of any surcharges as may be improperly imposed
against the Trusts regarding legal fees and/or other
expenses for the defense of this action.

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Dated: New York, New York
August 30, 2004

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ANDERSON KILL & OLICK, P.C.

 

By:

 

   

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